Case: 2:22-cv-02653-ALM-CMV Doc #: 106-8 Filed: 06/05/24 Page: 1 of 3 PAGEID #: 3362




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO

  STUDENT RESOURCE CENTER,  )
  LLC,                      )
                            )
       Plaintiff,           )
                            )                              Case No. 2:22-cv-2653
  v.                        )
                            )                              Chief Judge Algenon L. Marbley
  EASTERN GATEWAY COMMUNITY )
  COLLEGE,                  )                              Magistrate Judge Chelsey M.
                            )                              Vascura
       Defendant.           )


                         Praecipe to Issue Notice of Proceeding for Attachment

 To the Clerk of the Court:

         As provided in Ohio Rev. Code § 2715.041, please issue to Defendant, Eastern Gateway

 Community College (“EGCC”), in duplicate, a notice of proceeding for attachment, in substantially the

 form set forth in Attachment A, as section 2715.041(A) prescribes. The hearing date to be filled in

 should be not less than seven business days after EGCC is served, in accordance with Ohio Rev. Code §

 2715.041(C), and not more than 20 days after the filing of this motion, in accordance with Ohio Rev.

 Code § 2715.043(A).

         Please also deliver to EGCC a request-for-hearing form with a postage-paid, self-addressed

 envelope or postcard, in accordance with Ohio Rev. Code § 2715.041(B). Attachment B sets forth the

 request-for-hearing form the statute prescribes.
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       Dated: June 5, 2024      Respectfully submitted,

                                /s/ Robert C. Folland
                                C. David Paragas (0043908)
                                Robert C. Folland (0065728) (Trial Attorney)
                                David M. DeVillers (0059456)
                                Michelle M. Nicholson (0099833)
                                Jeff A. Bartolozzi (0095664)
                                BARNES & THORNBURG LLP
                                41 S. High Street, Ste. 3300
                                Columbus, Ohio 43215-6104
                                Telephone: (614) 628-1401
                                David.Paragas@btlaw.com

                                Attorneys for Plaintiff Student Resource Center, LLC
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2024, a copy of forgoing was filed electronically via the

  Court’s CM/ECF filing system and served on all counsel of record.

                                              /s/ Robert C. Folland

                                                Robert C. Folland
